                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                No. 5:19-cv-00475-BO

JASON WILLIAMS,                                 )
                                                )
                 Plaintiff,                     )
                                                )
        v.                                      )   NOTICE OF SPECIAL APPEARANCE
                                                )
AT&T MOBILITY, LLC,                             )
                                                )
                 Defendants                     )


       Please take notice that the undersigned Dwayne D. Sam hereby enters a notice of special

appearance as counsel for Plaintiff Jason Williams in the above-captioned matter, in association

with Local Civil Rule 83.1(d) counsel, Terence S. Reynolds, of Shumaker, Loop & Kendrick LLP.

       I certify that I will submit any document to Local Civil Rule 83.1(d) counsel for review

prior to filing the document with the court.



                                                /s/ Dwayne D. Sam
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, November 19, 2019, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system which will send notification of such

filing to the following:

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Dated: November 19, 2019

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